Case 1:25-cv-00778-LLA   Document 35-7   Filed 04/18/25   Page 1 of 3




                 Exhibit F
               Case 1:25-cv-00778-LLA                 Document 35-7            Filed 04/18/25          Page 2 of 3


             Inter-American Foundation                                For Pay Period Ending           Net Pay
                                                                      03/08/2025                      $ 466.88
            Earnings and Leave Statement                              Pay Period #                    Pay Date
                                                                      06                              03/18/2025

Name                                     Pay Plan/Grade/Step Annual Salary                            Hourly Rate
AVIEL, SARA MARGALIT                     AD 00 00            $ 195,200.00                             $ 93.53

Home Address                                                          Pay Check Address




Basic Information
Service Comp Date           05/01/1999       Agency                          IAF           Cumulative Retirement          $4,220.46
Dept ID                     IF               Duty Station                    DC            Agency
Organization Code                            Pay Begin Date                  02/23/2025    FLSA Class                     EXEMPT
4010000000                                   TSP Roth Amt/%                  $885.00       Financial Institution
TSP Tax Deferred Amt/%      0%

Your Pay Consists of          Current            YTD Tax Information          Mrtl ExmptsMulti         Addtl        Current        YTD
Gross Pay                    2,244.72       39,403.92                        Status      Jobs         Wthhld         Wages      Wages
Total Deductions             1,777.84       20,576.61 Federal                  M          Y             0.00                  36,669.16
Net Pay                        466.88                 State ( DC )             S     0                  0.00                  36,669.16

                                                            EARNINGS
Type                                                           Rate Adjusted              ADJ Hours       Hours Current           YTD
Regular                                                       93.53                                        24.00 2,244.72

                                                        DEDUCTIONS
Type                Misc         Adjusted     Current     YTD Type                        Misc        Adjusted      Current     YTD
Federal Taxes                                  134.09 6,464.25 State Tax 1 ( DC )                                     99.72 2,758.38
Health Benefits -                                              Dental/Vision                                          41.64   166.56
                    342                        201.52 1,183.64
Pretax                                                         FSA HC                                                 38.46   230.76
FSA DC                                         192.30 1,153.80 Retirement - FERS          .8                          17.96   315.24
TSP Roth                                       885.00 5,310.00 Medicare Tax               1.45                        25.68   531.70
OASDI Tax           6.2                        109.79 2,273.48
FEGLI - Regular                                 31.68   188.80

                                                BENEFITS PAID BY GOVT.
Type                                          Current     YTD         Type                                          Current     YTD
FEGLI                                           15.84    94.40        FEHB                                           604.56 3,550.90
Medicare                                        25.68   531.70        OASDI                                          109.79 2,273.48
TSP Basic                                       22.45   394.03        TSP Matching                                    89.79 1,576.17
FERS                                           413.03 7,250.31

                                                              LEAVE
Type                       Begin Bal     Begin Bal          Earned        Earned         Used         Used          Adv         Ending
                           Lv Current        Lv Yr          Current         YTD        Current         YTD                         Bal
Annual Leave                   264.00      240.00                          24.00                                                264.00
Sick Leave                     335.00      323.00                          12.00                                                335.00
Credit                          24.00        24.00                                                                               24.00
               Case 1:25-cv-00778-LLA       Document 35-7      Filed 04/18/25     Page 3 of 3


Compensatory for Travel          56.30                                                                 56.30
Religious Comp Time               8.00   8.00                                                           8.00

                                                ANNUAL LEAVE

                     Projected
Category: 8          Year End                        Maximum Carry Over: 240.00 Use Or Lose Balance: 24.00
                     Balance:    0.00

                                                  REMARKS
TRVL COMP TIME EXPIRES (HRS, PP) 16.00 202507
IRS FREE FILE MAY BE AVAILABLE FOR INDIVIDUALS BASED ON THEIR ADJUSTED GROSS INCOME. VISIT
WWW.IRS.GOV/FREEFILE FOR 2024 INCOME LIMITS AND PREPARE AND FILE YOUR TAXES THE FAST, SAFE, AND FREE
WAY.
REMARKS/MESSAGES: PAY/LEAVE QUESTIONS? CALL DOI CUSTOMER SUPPORT CENTER; 1-866-367-1272,OPTION
3,PRESS 1
EMPLOYEE IS RESPONSIBLE FOR VERIFICATION OF PAY, DEDUCTIONS, AND LEAVE.

              THIS REPORT CONTAINS INFORMATION SUBJECT TO THE PRIVACY ACT OF 1974 AS AMENDED
